                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                                       :       CHAPTER 11
                                                             :
GEORGE LIMBERIOU,                                            :       BANKR.NO. 20-10778-pmm
                                                             :
                                      Debtor.                :

                              JUDGMENT AGAINST DEBTOR
                              AND ORDER DISMISSING CASE

                              7th day of July, 2020, upon consideration of the U. S. trustee’s
               AND NOW, this ____

Motion to Dismiss, and his request for entry of a judgment against the Debtor for all unpaid fees

pursuant to 28 U.S.C. § 1930(a)(6), and the Debtor’s response, if any, it is now, therefore,

               ORDERED as follows:

               Judgment is hereby entered in favor of the United States trustee against the

                                 975.00
Debtor in the principal sum of $__________________, plus applicable interest, if any, being the

actual or minimum amount of the accrued but unpaid fees to the United States trustee pursuant to

28 U.S.C. § 1930(a)(6), as amended;

               IT IS FURTHER ORDERED that the U. S. trustee’s Motion to Dismiss is

GRANTED and this case is hereby DISMISSED.




                                                     Honorable Patricia M. Mayer
                                                     United States Bankruptcy Judge
